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                       UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF NEW YORK


STATE OF NEW YORK, et al.,

                  Plaintiffs,

         v.                            18-CV-2921 (JMF)

UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

                  Defendants.



NEW YORK IMMIGRATION
COALITION, et al.,

                  Plaintiffs,

         v.                            18-CV-5025 (JMF) (Consolidated Case)

UNITED STATES DEPARTMENT
OF COMMERCE, et al.,

                  Defendants.


              OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE
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         Defendants’ Motion In Limine, Docket No. 408, is in the main an attack on the Court’s

July 3 (and subsequent) decision(s) to allow extra-record evidence combined with an untimely

and ill-conceived motion to exclude one of Plaintiffs’ witnesses. For the reasons set forth in

greater detail below, Plaintiffs respond to Defendants’ Motion as follows: (1) Plaintiffs agree that

the full Administrative Record should be admitted in evidence but note that there is a dispute

over what constitutes the Administrative Record; (2) Defendants’ motion to exclude all

testimony and exhibits beyond the Administrative Record should be denied; and (3) Defendants’

untimely and ill-conceived motion to exclude Plaintiffs’ expert Dr. Lisa Handley should be

denied. 1

I.    THE FULL ADMINISTRATIVE RECORD SHOULD BE ADMITTED

      The parties agree that the administrative record should be admitted in evidence. But the

parties dispute the scope of that administrative record. Defendants appear to take the outlandish

position that only the first 1321 pages produced by Defendants constitute the record. See Docket

No. 419–1 at n.1 (explaining that subsequent materials produced were “a broader set of materials

than would normally be considered appropriate for an administrative record”). This is not the

law. Under the APA, judicial review is required to be conducted based on the “whole record.”

Citizens to Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 419 (1977). Agencies are required

to submit the “whole record” including all of the materials before the agency, not merely a subset

actually considered by a decision-maker, and not merely the subset that purportedly support the

ultimate decision. See Walter O. Boswell Mem. Hosp. v. Heckler, 749 F.2d 788, 792 (D.C. Cir.


1
  With regard to Plaintiffs’ motions in limine (Dkt. No. 411 & 413), consistent with this Court’s Individual Rule and
Practice 2.D, if the court permits oral argument, Plaintiffs would intend to have junior attorneys on the team argue
these motions, and would request that argument be heard on November 5. Plaintiffs believe the Defendants’
motions can be resolved at that time, with the exception of the motion concerning Dr. Handley—Plaintiffs request
that motion be resolved at or before the October 31 pre-trial conference.


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1984) (“To review less than the full administrative record might allow a party to withhold

evidence unfavorable to its case.”). And where subordinates conducted “work and [made]

recommendations of subordinates, those materials should be included as well.” Amfac Resorts,

L.L.C. v. U.S. Dep’t of the Interior,143 F. Supp. 2d 7, 12 (D.D.C. 2001) (citing Bar MK Ranches

v. Yuetter, 994 F.2d 735, 739 (10th Cir. 1993)).

     Defendants’ original record omitted vast swaths of documents before the agency, including

materials created during the many months that the Secretary sought to add the citizenship

question prior to receiving the DOJ’s formal request. See Tr. of Oral Argument at 79–82 (July 3,

2018) (finding it “inconceivable . . . that there aren’t additional documents from earlier in 2017”

in the record). Moreover, Defendants’ originally produced, incomplete record was “nearly

devoid of materials from key personnel,” including the subordinates upon whom the Secretary

directly or indirectly relied. Id. at 81–2. It was precisely because of such omissions that the

Court ordered that “by July 23, 2018, Defendants shall produce the complete record . . . .” July 5

Order, Docket No. 199; July 3 Tr. at 82 (“plaintiffs’ request for an order directing defendants to

complete the Administrative Record is well founded.”).

     Pursuant to that Order, the Defendants made two subsequent productions on July 23 and

(with a Court-authorized extension) July 26. In addition to these supplements to the

Administrative Record, Defendants have also produced materials that they designated as extra-

record discovery, which were all labelled with the Bates-prefix “COM_DIS.”

     Notwithstanding this course of conduct and the Court’s Order, Defendants now apparently

take the view that the “whole record” should not include the Secretary’s May 2, 2017 exchange

with Earl Comstock in which the Secretary asked “why nothing have been done in response to

my months old request that we include the citizenship question,” to which Comstock replied,


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“[o]n the citizenship question we will get that in place,” and “we need to work with Justice to get

them to request that the citizenship be added back as a census question.” A1 [PX-088 (AR

0003710)]. Similarly, Defendants would exclude Comstock’s September 8, 2017 email to the

Secretary reporting his unsuccessful efforts to recruit DOJ and DHS to ask the citizenship

question, and having failed on that score, that he was investigating “how Commerce could add

the question to the Census itself.” A2 [PX-537 (AR 0012756)]. For the reasons stated in the

Court’s July 3, 2018 Order, the materials that Defendants produced to complete the

administrative record—principally, AR 001322–0013099 (as well as subsequently produced

unredacted versions of these documents produced pursuant to motions to compel)—are properly

considered the complete administrative record.

     Presenting a complete administrative record is necessary to permit the Court’s effective

judicial review under 5 U.S.C. § 706; anything less would permit Defendants to “skew the

‘record’ for review in [their] favor by excluding from that ‘record’ information in [their] own

files which has great pertinence to the proceeding in question.” Envtl. Def. Fund, Inc. v. Blum,

458 F. Supp. 650, 661 (D.D.C. 1978); see also Portland Audubon Soc’y v. Endangered Species

Comm., 984 F.2d 1534, 1538 (9th Cir. 1998) (“An incomplete record must be viewed as a

‘fictional account of the actual decisionmaking process.’”) (quoting Home Box Office, Inc. v.

FCC, 567 F.2d 9, 54 (D.C. Cir. 1977)).

     In addition to the records noted above, Defendants designated various other documents in

and after their October 16 productions that should be part of the Administrative Record as extra-

record materials. Some of the materials designated as extra-record discovery involve the same

issues and are part of the same email chains as portions of the Administrative Record.




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      For example, Defendants have designated certain of the Commerce Department’s

interactions with Mark Neuman about the citizenship question as extra-record discovery, while

treating others as Administrative Record. Compare A3-1 [PX-185 (COM_DIS00016561), PX-

186 (COM_DIS00018614), PX-188 (COM_DIS00018615)] with A3-2 [PX-087 (AR 003709),

PX-083 (AR 003699), PX-145 (AR 0011329), PX-052 (AR 002482)]. Defendants have

similarly designated certain of the communications surrounding James Uthmeier’s August 11

memo as extra-record discovery, while treating others as Administrative Record. Compare A4-1

[COM_DIS00017126, COM_DIS00017127] with A4-2 [PX-050 (AR 002461), AR 0011312,

AR 0011332, AR 0011343]. And Defendants have designated certain interactions between the

Commerce Department and the White House about the citizenship question as extra-record

discovery, while designating others as part of the Administrative Record. Compare A5-1

[COM_DIS00015698] with A5-2 [PX-058 (AR 2561), PX-019 (AR 000763)]. In addition, per

the Court’s guidance at the October 24 hearing regarding a procedure for agreed-upon additions

to the Administrative Record (Oct. 24 Tr. at 24–30), Plaintiffs requested on October 30 that

Defendants agree to add certain exhibits to the Administrative Record. See A6. If the parties are

unable to agree, Plaintiffs will move to supplement the Administrative Record to include these

exhibits (reserving the right to identify additional materials for Defendants and, if necessary, the

Court, for inclusion in the “whole record” for review as properly considered).

II.   THE MOTION TO EXCLUDE EXTRA-RECORD EVIDENCE AS TO THE
      MERITS SHOULD BE DENIED

       Defendants’ argument that extra-record evidence should be excluded as irrelevant under

FRE 402 is both wrong and directly contrary to the Court’s October 26 order, Docket No. 405.

Defendants had asked for a stay pending Supreme Court review of, inter alia, the trial on

grounds that as to the merits of the case, the adjudication should be confined to the


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Administrative Record. See Dkt. No. 397. In denying Defendants’ requested stay, the Court

made clear that it would hear extra-record evidence. To be sure, the Court expressly stated that

Defendants “remain free to argue at trial that the Court should disregard all evidence outside the

administrative record, ” Dkt. No. 405 at 3, but it made plain that is an issue to be resolved at the

end of the trial and not before it starts. The Court expressly directed the “the parties to

differentiate in their pre- and post-trial briefing between arguments based solely on the

administrative record and arguments based on materials outside the record. The Court anticipates

differentiating along similar lines in any findings of fact and conclusions of law that it enters.”

Id. (citing Oct. 24th Tr. 16). The Court also proceeded to reaffirm its July 5, 2018 Order, Dkt.

No. 199, authorizing extra-record evidence. October 26 Order at 9 (“Finally, the Court’s

decision to authorize extra-record discovery was, and remains, well founded.”).

       In short, while Defendants have preserved their argument that in the end the Court should

look only to the administrative record in making its decision, the Court has made clear that the

best and most efficient way to proceed now is to allow both the administrative record and extra-

record evidence to be admitted and for the Court to decide at the conclusion of trial the proper

evidentiary basis for its decision.

       Finally, much of the contested evidence, while not in the Administrative Record, is

relevant to issues where courts frequently consider extra-record discovery in Administrative

Procedure Act cases. These include issues of standing, where Dr. Hillygus’ testimony is directly

relevant because it concerns the expected impact of the citizenship question on self-response and

undercount of certain populations. This evidence also includes expert testimony about technical

Census issues, including whether the Census Bureau followed its well-established procedures for

changing the content to the Decennial Census questionnaire—about which both Dr. Habermann



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and Mr. Thompson will testify. E.g., City of New York v. U.S. Dep’t of Commerce, 822 F. Supp.

906, 917 (E.D.N.Y. 1993); Cuomo v. Baldrige, 674 F. Supp. 1089, 1093 (S.D.N.Y. 1987); New

York v. Salazar, 701 F. Supp. 2d 224, 241 (N.D.N.Y. 2010) (“deviated from its customary

practices and procedures”); Tummino v. Von Eschenbach, 427 F. Supp. 2d 212, 231-34

(E.D.N.Y. 2006) (officials “needed to find acceptable rationales” and the “agency deviated from

its traditional practices”). And it includes fact and expert testimony relevant to Administrative

Procedure Act questions where extra-record discovery is permitted, including (i) whether the

agency failed to consider an important aspect of the problem (Dr. Hillygus, Dr. Abowd, Dr.

Jarmin), and (ii) whether the stated reason for the question is the actual reason or a pretext

because the Department of Justice has no need for block level citizenship data and the Census

Bureau is barred from publishing such data (Dr. Handley, Dr. Habermann, Mr. Comstock, Ms.

Dunn Kelley and Ms. Teramoto). See Tummino v. Torti, 603 F. Supp. 2d 519, 543-34 (E.D.N.Y.

2009); Tummino, 427 F. Supp. 2d at 231-34; Buffalo Cent. Terminal v. United States, 886 F.

Supp. 1031, 1045-46 (W.D.N.Y. 1995).

III. THE COURT SHOULD DENY DEFENDANTS’ LATE MOTION TO DISQUALIFY
     DR. HANDLEY BECAUSE THE DISQUALIFICATION STANDARD DOES NOT
     APPLY HERE, AND IF IT DID, DEFENDANTS COULD NOT SATISFY IT

       Disqualifying an expert “is a drastic remedy, . . . resorted to rarely.” Eastman Kodak Co.

v. Kyocera Corp., 10-CV-6334CJS, 2012 WL 4103811, at *7 (W.D.N.Y. Sept. 17, 2012); see

also Koch Refining Co. v. Jennifer L. Boudreau M/V, 85 F.3d 1178, 1181 (5th Cir. 1996) (“cases

that grant disqualification are rare”); Grioli v. Delta Intern. Mach. Corp., 395 F. Supp. 2d 11, 13

(E.D.N.Y. 2005) (same). Yet Defendants heighten the already-extreme nature of their request

having laid in wait and springing it on the eve of trial. This timing smacks of gamesmanship and

the type of “trial by ambush” courts routinely reject. Novomoskovsk Jt. Stock Co. “Azot” v.

Revson, 95 CIV. 5399 (JSR), 1998 WL 804712, at *1 (S.D.N.Y. Nov. 12, 1998). Despite
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Plaintiffs disclosing Dr. Handley as an expert almost two months ago, Defendants did not inform

Plaintiffs or the Court of their position until this motion or even depose Dr. Handley to determine

whether she in fact relied on any confidential information (knowing she had not). Instead, they

filed this motion a week before trial, also failing to comply with section 3.I of this Court’s

Individual Rules of Practice in Civil Cases for “motions to exclude testimony of experts” to be

filed “by the deadline for dispositive motions” and not as “as motions in limine.”

       Even if the Court considers the merits of their untimely argument, it fails on several

grounds. First, the standard urged by Defendants does not apply in situations where, like here,

the entity that previously retained the expert is a distinct entity from the current adverse party.

Second, even applying that standard, Defendants have not shown that Dr. Handley received the

type of confidential information this standard seeks to protect, or that Defendants would be

harmed by not cross-examining her about such confidential information. Third, the equities and

public interest support allowing Dr. Handley to testify, particularly given the late hour of

Defendants’ motion.

       For all these reasons, the Court should deny Defendants’ motion. In the alternative, if the

court were to grant Defendant’s motion, it should still permit Dr. Handley to testify while

precluding only those portions of her testimony describing the details of her analyses in

particular cases while serving as an expert for DOJ, see Defs.’ Br. at 9-10 (describing Dr.

Handley’s analyses in the Eastpointe, Texas, and Perez cases), and also grant Plaintiffs leave to

identify and retain a new expert witness on the same topics before the close of evidence.

       A.      The Standard for Expert Exclusion Does Not Apply Here, Because Dr.
               Handley Did Not Provide Prior Services to These Defendants.

       The standard for expert exclusion on grounds of conflict does not even apply here,

because neither the Commerce Department nor the Census Bureau nor Secretary Ross nor Dr.


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Jarmin—the only Defendants here—has ever retained Dr. Handley for any purpose. The

standard cited by Defendants for expert qualification asks if all of the following elements are

present when considering “the issue of an expert who formerly had a relationship with an

adverse party . . . . : (1) was it objectively reasonable for the first party who retained the expert to

conclude that a confidential relationship existed; (2) was any confidential or privileged

information disclosed by the first party to the expert; and (3) does the public have an interest in

allowing or not allowing the expert to testify.” Grioli, 395 F. Supp. 2d at 13–14. The standard

itself reveals the first weakness of Defendants’ argument: Dr. Handley never “had a relationship

with an adverse party,” and thus the first prong of a confidential relationship with “the first party

who retained the expert” does not come into play. Not a single case cited by Defendants involves

a situation where the presently adverse party and the party with whom the expert had a prior

formal relationship were distinct; all involve identical parties. 2

         Here, as Mr. Mellett’s declaration states, “the Department [of Justice] has hired Dr. Lisa

Handley as its external expert,” and she testified on behalf of the United States in those cases.

Dkt. No. 408–5 ¶ 3. Unlike all the cases cited by Defendants and the standard they propose,

neither the Department of Justice (“DOJ”) nor the United States are parties here,3 and

2
  See id. at 14 (expert previously represented defendant as an attorney); Koch Refining, 85 F.3d at 1181 (party that
retained expert switched sides in litigation); In re Namenda Direct Purchaser Antitrust Litig., 15 CIV. 7488 (CM),
2017 WL 3613663, at *1 (S.D.N.Y. Aug. 21, 2017) (plaintiffs’ expert was a former executive for the defendant);
Auto-Kaps, LLC v. Clorox Co., 15 CIV. 1737 (BMC), 2016 WL 1122037, at *3 (E.D.N.Y. Mar. 22, 2016)
(plaintiff’s expert consulted with defendant for approximately two years); Hinterberger v. Catholic Health System,
Inc., 08-CV-380S F, 2013 WL 2250591, at *7 (W.D.N.Y. May 21, 2013) (company retained as expert by defendants
previously provided services to plaintiffs in connection with litigation); Gordon v. Kaleida Health, 08-CV-378S F,
2013 WL 2250506, at *6 (W.D.N.Y. May 21, 2013) (same); Eastman Kodak Co., 2012 WL 4103811, at *6
(defendants’ expert was previously plaintiffs’ expert in another case); Marvin Lumber & Cedar Co. v. Norton Co.,
113 F.R.D. 588, 590 (D. Minn. 1986) (defendants’ expert was a “consulting engineer with plaintiff”).
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 It is a particularly noteworthy overreach to seek to disqualify Dr. Handley on this basis where the Defendants
vigorously—and successfully—opposed the NYIC Plaintiffs’ motion to amend the complaint to add DOJ as a
defendant. See N.Y. Immigration Coal. v. U.S. Dep’t of Commerce, 18-cv-5025 (JMF), 2018 WL 4292673
(S.D.N.Y. Sept. 7, 2018) (order denying leave to amend complaint).



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Defendants do not contend that Dr. Handley ever consulted for the Commerce Department,

Census Bureau, Secretary Ross or Dr. Jarmin. To the extent that Defendants blur this distinction

by arguing that they are coextensive with the United States as a party, Plaintiffs could have sued

the United States as allowed by 5 U.S.C. § 702, but they did not. Where the APA itself makes a

distinction between federal agencies and the United States as defendants, it is nonsensical to

argue that the Commerce Department, Justice Department and United States are effectively

coextensive.4

         Disqualifying an expert who a non-party previously retained would also run counter to

the rule’s limited purpose. Typically, disqualification is appropriate “where a party seeks to

retain as an expert an adversary’s former employee who learned confidential information during

the course of his employment, or where an expert switches sides during the course of litigation.”

Eastman Kodak Co., 2012 WL 4103811, at *7. Allowing one federal agency to disqualify an

adverse expert because they have previously been retained by another federal agency would turn

a rule that is “a drastic remedy,” id., into everyday practice.

         B.       Defendants Have Not Shown Dr. Handley Received Confidential Information
                  the Rule Protects Against and Their Cross-Examination Argument Rings
                  Hollow

         Unlike “attorney-client communications, discussions between parties or counsel and

experts do not carry the presumption that confidential information was exchanged.” Stencel v.

Fairchild Corp., 174 F. Supp. 2d 1080, 1083 (C.D. Cal. 2001). Thus, the “burden is on the party

seeking to disqualify the expert” to cite “specific and unambiguous disclosures that if revealed

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  Just last year, DOJ even filed an amicus brief in the Second Circuit on behalf of the United States that knowingly
took a directly adverse position to another federal agency, the Equal Opportunity Employment Commission
(EEOC). Compare En Banc Br. of Amicus Curiae E.E.O.C in Support of Plaintiffs/Appellants and in Favor of
Reversal, Dkt. No. 296, Zarda v. Altitude Express, Inc., No. 15-3775 (2d Cir. June 23, 2017), with Br. for the United
States as Amicus Curiae at 1, Dkt. No. 417, Zarda v. Altitude Express, Inc., No. 15-3775 (2d Cir. July 26, 2017)
(advocating for the opposite position and stating that “the EEOC is not speaking for the United States and its
position about the scope of Title VII”).


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would prejudice the party.” Hewlett-Packard Co. v. EMC Corp., 330 F. Supp. 2d 1087, 1094

(N.D. Cal. 2004); see also Eastman Kodak, 2012 WL 4103811, at *8. Defendants have not met

this burden.

         For one, Defendants cite confidentiality agreements, but never argue that Dr. Handley

violated their provisions, which expressly allow use of “materials which are matters of public

record.” Dkt. No. 408–5 at 15, 19, 23. Indeed, Dr. Handley’s report relies generally on her

experience as an expert for several decades and publicly-available documents to demonstrate

general principles of Voting Rights Act (VRA) analysis, but she offers no opinions about

specific cases in which she was retained by DOJ, or details about those cases beyond what is

contained in her publicly-available reports. See Decl. of Lisa Handley (attached at A7).5

Defendants cannot show prejudice from her discussion of these public reports. See Hewlett-

Packard, 330 F. Supp. 2d at 1094; see also Eastman Kodak, 2012 WL 4103811, at *8.

         Defendants have also failed to show that Dr. Handley received the type of confidential or

privileged information the rule protects. Mr. Mellett asserts in conclusory fashion that “Dr.

Handley has received numerous confidential communications and voluminous confidential

information from Department of Justice attorneys and staff regarding CVAP data,” for example.

Dkt. 408–5 ¶ 16. This statement does not identify any “specific and unambiguous” privileged

information provided to Dr. Handley. Hewlett-Packard Co., 330 F. Supp. 2d at 1094. Rather, his

vague reference to CVAP data implies that such information was not privileged: in the expert

disqualification content, “[c]ommunication based upon technical information as opposed to legal

advice is not considered privileged.” Nikkal Industries, Ltd. v. Salton, Inc., 689 F. Supp. 187,


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  See Dkt. No. 408-4 at 12–13, 15 n.18, 16–17 (citing only publicly available materials to demonstrate general
principles using as examples United States v. Village of Port Chester, United States v. City of Eastpointe, and Texas
v. United States, and not even discussing the remaining three DOJ cases cited by Defendants).


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191–92 (S.D.N.Y. 1988); see also Capitol Records, Inc. v. MP3tunes, LLC, No. 07 CIV. 9931

(WHP), 2010 WL 11590131, at *1 (S.D.N.Y. Apr. 15, 2010) (describing confidential

information “in the context of expert disqualification” as including discussions about litigation

strategy, and explaining that purely “‘technical information is not confidential’” (quoting Koch,

85 F.3d at 1182)).

         Defendants’ contention that they will be unable to fully cross-examine Dr. Handley

because doing so would supposedly reveal confidential communications also rings hollow. Dr.

Handley’s report does not offer any substantive conclusions about the merits of the cases on

which she worked with DOJ. She merely cites three of these cases to explain the mechanics of

how she went about using existing CVAP data to establish the first Gingles precondition for

Section 2 VRA liability—i.e., that a minority group was sufficiently large and geographically

compact to constitute a majority in a single-member district. Defendants offer no explanation as

to how cross-examining Dr. Handley about this data and mapping exercise would somehow

require the disclosure of confidential information. 6 Moreover, for other cases Dr. Handley

discusses in which she was not retained by DOJ, such as Lopez v. Abbott, there can be no

argument that cross-examining her about her work in those cases would require disclosure of

confidential information. The Court should reject their attempt to use confidentiality as both a

shield and a sword to disqualify Dr. Handley.

         C.       Both the Public Interest and Unfair Prejudice to Plaintiffs Also Provide a
                  Sufficient Basis to Reject Defendants’ Motion.

         Courts consider not only the public interest of disqualification under the final factor, but

also “issues of fundamental fairness, and whether any prejudice might occur if an expert is or is
6
  To the extent Defendants assert that doing so would itself require disclosure of confidential information, they could
have identified such information for the court without public disclosure through a declaration of affidavit filed under
seal; it is telling that they have failed to identify such information with any sort of specificity.



                                                          11
         Case 1:18-cv-02921-JMF Document 457 Filed 10/31/18 Page 16 of 20



not disqualified,” the latter of which “is especially appropriate at late stages in the litigation, at

which time disqualification is more likely to disrupt the judicial proceedings.” Hewlett-Packard,

330 F. Supp. 2d at 1094–95. Additionally, a court may find that a party waived their right to

disqualify an expert by delaying in making their challenge. In English Feedlot, Inc. v. Norden

Laboratories, Inc., 833 F. Supp. 1498, 1504 (D. Colo. 1993), for example, the court found

waiver in part because the party who had previously retained an expert waited several months

after finding their adversary had retained the expert to challenge his testimony. Both the public

interest and unfair prejudice to Plaintiffs support denying the motion.

        First, allowing Defendants to disqualify an expert who was previously retained by a

different branch of the federal government would run contrary to the public interest by allowing

the government to disqualify experts at their whim when there is no risk of conflict. That is

precisely what Defendants attempt here. Having failed to identify their own VRA expert even

from within the division that purportedly needs this enhanced citizenship data, they instead seek

to manufacture a false conflict as a litigation tactic.

        Second, Defendants contend that “Plaintiffs can easily retain a new expert in the field,

one who did not work for a company that is a key witness in this case,” and suggest that

Plaintiffs could retain other VRA expert witnesses such as Professor Pamela Karlan. Def. Br. at

12 (quoting In re Namenda, 2017 WL 3613663, at *8); Docket No. 408–6 (Karlan expert

disclosure). Professor Karlan recently served as Deputy Assistant Attorney General for Civil

Rights with oversight of the Voting Section, 7 the same role that John Gore served in before he

temporarily became Acting AAG for Civil Rights. Defendants’ apparent willingness to permit
7
 See Stanford Law School, Pamela S. Karlan Biography, available at https://law.stanford.edu/directory/pamela-s-
karlan/ (noting that Professor Karlan formerly served as “a Deputy Assistant Attorney General in the Civil Rights
Division of the U.S. Department of Justice (where she received the Attorney General’s Award for Exceptional
Service – the department’s highest award for employee performance…)”



                                                        12
       Case 1:18-cv-02921-JMF Document 457 Filed 10/31/18 Page 17 of 20



Plaintiffs to retain Professor Karlan as an expert witness—who, like Dr. Handley has “work[ed]

for a company that is a key witness in this case”—smacks of gamesmanship. Indeed, Defendants

know that by waiting until a week before trial to announce their position, they have hamstrung

efforts to retain a new expert. Because of this pretrial ambush, Plaintiffs would be prejudiced by

losing the opportunity to identify a new expert in the few days remaining before trial. By

waiting many weeks to announce their position and seek disqualification, Defendants have

waived their right to do so. See English Feedlot, 833 F. Supp. at 1504.

       While the law does not support exclusion of any aspect of Dr. Handley’s testimony,

should the Court disagree, it should nonetheless not disqualify Dr. Handley completely. Because

her opinions are based on a lifetime of VRA work and are not tied to specific DOJ cases, she

could provide the same opinions without discussing the details of analysis on DOJ cases. This

would address any possible concerns raised by Defendants. If the Court were to do so, then,

consistent with Defendants’ position that Plaintiffs “may retain a new expert in the field,” it

should also grant Plaintiffs leave to identify and retain a new expert witness on the same topics

before the close of evidence.

       Such a ruling should not prove necessary, however. Defendants seek to impose a rule

that does not apply here, given that Dr. Handley has never served as an expert for the Census

Bureau or the Commerce Department. And even if she could properly be characterized as

having served as a witness for Defendants, they have not identified “specific and unambiguous

disclosures” that would harm them; instead, they cite to technical data that lacks privileged status

under this test. Nor have they offered anything more than a conclusory assertion that they cannot

cross-examine her. Their gamesmanship in springing this motion at the last minute also militates




                                                 13
       Case 1:18-cv-02921-JMF Document 457 Filed 10/31/18 Page 18 of 20



against disqualification, not to mention the dangerous precedent it would set. The Court should

deny the motion outright.




                                               14
       Case 1:18-cv-02921-JMF Document 457 Filed 10/31/18 Page 19 of 20



                                    Respectfully submitted,

                                    ARNOLD & PORTER KAYE SCHOLER LLP
                                    AMERICAN CIVIL LIBERTIES UNION

                                    By: /s/ John A. Freedman


Dale Ho                                        Andrew Bauer
American Civil Liberties Union Foundation      Arnold & Porter Kaye Scholer LLP
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New York, NY 10004                             New York, NY 10019-9710
(212) 549-2693                                 (212) 836-7669
dho@aclu.org                                   Andrew.Bauer@arnoldporter.com

Sarah Brannon*                                 John A. Freedman
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915 15th Street, NW                            601 Massachusetts Avenue, N.W.
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202-675-2337                                   (202) 942-5000
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practice limited pursuant to D.C. App. R.
49(c)(3).

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(212) 607-3300 601
pgrossman@nyclu.org

                                    Attorneys for the NYIC Plaintiffs


                                    BARBARA D. UNDERWOOD
                                    Attorney General of the State of New York

                                    By: _/s/ Matthew Colangelo

                                    Matthew Colangelo
                                    Executive Deputy Attorney General
                                    Elena Goldstein, Senior Trial Counsel
                                    Laura Wood, Assistant Attorney General
                                    Office of the New York State Attorney General
                                    28 Liberty Street
Case 1:18-cv-02921-JMF Document 457 Filed 10/31/18 Page 20 of 20



                       New York, NY 10005
                       Phone: (212) 416-6057
                       matthew.colangelo@ag.ny.gov

                       Attorneys for the State of New York Plaintiffs
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       ATTACHMENT A1
Case 1:18-cv-02921-JMF Document 457-1 Filed 10/31/18 Page 2 of 2
Case 1:18-cv-02921-JMF Document 457-2 Filed 10/31/18 Page 1 of 2




       ATTACHMENT A2
       Case 1:18-cv-02921-JMF Document 457-2 Filed 10/31/18 Page 2 of 2



September 8, 2017

To:    Secretary Wilbur Ross

Fr:    Earl Comstock

Re:    Census Discussions with DoJ



In early May Eric Branstad put me in touch with Mary Blanche Hankey as the White House
liaison in the Department of Justice. Mary Blanche worked for AG Sessions in his Senate office,
and came with him to the Department of Justice. We met in person to discuss the citizenship
question. She said she would locate someone at the Department who could address the issue.
A few days later she directed me to James McHenry in the Department of Justice.

I spoke several times with James McHenry by phone, and after considering the matter further
James said that Justice staff did not want to raise the question given the difficulties Justice was
encountering in the press at the time (the whole Corney matter). James directed me to Gene
Hamilton at the Department of Homeland Security.

Gene and I had several phone calls to discuss the matter, and then Gene relayed that after
discussion DHS really felt that it was best handled by the Department of Justice.

At that point the conversation ceased and I asked James Uthmeier, who had by then joined the
Department of Commerce Office of General Counsel, to look into the legal issues and how
Commerce could add the question to the Census itself.




                                              0009834                                                 0012756
Case 1:18-cv-02921-JMF Document 457-3 Filed 10/31/18 Page 1 of 4




    ATTACHMENT A3-1
      Case 1:18-cv-02921-JMF Document 457-3 Filed 10/31/18 Page 2 of 4



To:       Herbst, Ellen (Federal!                  PII                     1
From:     Comstock, Earl (Fede~a1-y-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·J
Sent:     Tue 3/14/2017 12:10:33 PM
Importance:          Normal
Subject: Re: 17-053169
Received:            Tue 3/14/2017 12:10:35 PM

He had a meeting with Mark Newman on Census in NYC this weekend and has another
scheduled for Thursday I believe.

Will ask him about the Census response. Earl

Sent from my iPhone

> On Mar 14, 2017, at 7:59 AM, Herbst, Ellen (Federal) l.__ ______________________ PII_ ________________________ j
>
> I don't know if he got through all the material that was in his weekend book
>
> Sent from my iPhone
>
» On Mar 14, 2017, at 7:50 AM, "Comstock, Earl (Federal)"~L--·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-'
                                                                                             PII                   i wrote:
>>
>> Let's discuss. Has the Secretary reviewed the Census Bureau action plan? Thanks. Earl
>>
» From: "Owens, Derrick (Federal)"[ ______________________ PI_I ·-·-·-·-·-·-·-·-·-·-· :
» Date: Monday, March 13, 2017 at 6:25 PM
» To: "Comstock, Earl (Federal)" i                  PII                        ~, "Langdon, David (Federal)"
~-~~--~i-~;~-~~~d:·~-6~i-~~-t (~e~~~~ 1~•at:8-~-~:~:~:~~:~:~:~:~:~::~;~~~~~~:~~~~~~~}
» Subject: 17-053169
>>
>> Good evening,
>>
>> Please clear on this assignment by COB on Tuesday.
>>
>> Thank you.
» <17-053169 Clearance Package.pdf>




                                                                                                                              COM_DIS00016561
      Case 1:18-cv-02921-JMF Document 457-3 Filed 10/31/18 Page 3 of 4



To:       Comstock, Earl ( Federa I)L __________________P 11____________________ ]
From:     AM Neuman
Sent:     Fri 4/14/2017 3:41 :31 AM
Importance:          Normal
Subject: Re: Census Questiion
Received:            Fri 4/14/2017 3:41 :47 AM

I believe that the annual notification to Congressional committee relating to questionnaire content
additions for 2020 Census just took place. (Which is why there were a few articles about the lack
of planned questions relating to sexual orientation).
Let me double-check on that.

There will be another opportunity next year.

I recommend that you ask the Bureau to provide a list of the response rates on ALL demographic
questions currently asked on the ACS. You will see whether certain demographic questions have
lower response rates than others -- especially among certain demographic groups. That is
something that can be provided OFF THE SHELF.



A. Mark Neuman

> On Apr 13, 2017, at 9:58 PM, Comstock, Earl (Federal)
>
                                                                               t_________
                                                                 P_II ·-·-·-·-·-·-·-·-___i wrote:
> Hi Mark -- quick question. When does Census need to notify Congress regarding the questions
that will be on (A) the ACS and (B) the decennial Census?
>
> Thanks. Earl
>
> Sent from my iPhone




                                                                                               COM_DIS00018614
To:       Comstock, Earl ( Federa I)l__ __________________P 11____________________ ]
From:     AM NeumanCase 1:18-cv-02921-JMF Document 457-3 Filed 10/31/18                Page 4 of 4
Sent:     Tue4/11/20176:31:13PM
Importance:         Normal
Subject: One of the Supreme Court cases that informs planning for 2020 Census ....
Received:           Tue 4/11/2017 6:31 :20 PM
index.pdf

https ://supreme .justia.com/cascs/ fedcral/us/548/05-204/indcx.pdf




A. Mark Neuman




                                                                                                     COM_DIS00018615
Case 1:18-cv-02921-JMF Document 457-4 Filed 10/31/18 Page 1 of 7




    ATTACHMENT A3-2
                 Case 1:18-cv-02921-JMF Document 457-4 Filed 10/31/18 Page 2 of 7
From:       AM Neuman [
Sent:       4/14/2017 3:41:31 AM
To:         Comstock, Earl (Federal)
Subject:    Re: Census Questiion



I believe that the annual notification to Congressional committee relating to questionnaire content
additions for 2020 Census just took place. (Which is why there were a few articles about the lack of
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Let me double-check on that.

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I recommend that you ask the Bureau to provide a list of the response rates on ALL demographic questions
currently asked on the ACS. You will see whether certain demographic questions have lower response rates
than others -- especially among certain demographic groups. That is something that can be provided OFF
THE SHELF.


A. Mark Neuman

> on Apr 13, 2017, at 9:58 PM, Comstock, Earl (Federal)<                   wrote:
>
> Hi Mark    quick question. When does Census need to notify Congress regarding the questions that will
be on (A) the ACS and (B) the decennial Census?
>
> Thanks. Earl
>
> Sent from my iPhone




                                                                                                       0003709
                  Case 1:18-cv-02921-JMF Document 457-4 Filed 10/31/18 Page 3 of 7
From:          Wilbur Ross
Sent:          5/2/2017 2:23:38 PM
To:            Teramoto, Wendy (Federal)
Subject:       Re:Census



Let's try to stick him in there for a few days to fact find. W


Sent from my iPhone


On May 2, 2017, at 7:17 AM, Teramoto, Wendy (Federal)                              wrote:
I continue to talk frequently with Marc Neumann and we often have dinner together. He will not leave les but is in love



                                   Let me know if you want to have a drink or get together with him over the weekend.
Wendy


Sent from my iPhone


Begin forwarded message:
From: "Alexander, Brooke (Federal)"
Date: May 2, 2017 at 7:10:21 AM PDT
To: "Teramoto, Wendy (Federal)" <
Subject: FW: Census




-----Original Message-----
From: Wilbur Ross
Sent: Tuesday, May 02, 2017 10:04 AM
To: Comstock, Earl (Federal)                           ; Herbst, Ellen (Federal)
Subject: Census




emphasize that they have settled with congress on the questions to be asked. I am mystified why nothing have been
done in response to my months old request that we include the citizenship question. Why not?




                                                                                                                    0003699
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                                                                   0003700
                Case 1:18-cv-02921-JMF Document 457-4 Filed 10/31/18 Page 5 of 7
From:
Sent:         9/13/2017 8:33:27 PM
To:           AM Neuman
Subject:      Re: Questions re Census



Mark,


Thanks again for the discussion and helpful information.


Regards,
James


On Sep 13, 2017, at 1:21 PM, AM Neuman _ , r o t e :
Note to James Uthmeier


From:      A Mark Neuman


Subject: Census 2020




James -- I appreciate our discussions about the 2020 Census preparations.




On Sep 13, 2017, at 12:19 PM, Uthmeier, James (Federal)                     wrote:




                                                                                     0011329
                  Case 1:18-cv-02921-JMF Document 457-4 Filed 10/31/18 Page 6 of 7
Hey Mark-just following up on this, sorry for not getting back to you sooner. Any chance you are free to chat soon
today? Would be much appreciated. My cell is


From: Uthmeier, James (Federal)
Sent: Friday, September 08, 2017 8:46 AM
To:
Subject: Questions re Census


Hi Mark,


I am working on                                                                                  nd they asked me to
reach out to you about some research that I have been doing. Any chance you might have a few minutes this morning
to discuss? I'm available all morning at the number below, or happy to give you a call whenever convenient.


Thank you,
James


James W. U thmeier
Senior Counsel to the General Counsel
Regulatory Reform Officer
Department of Commerce




                                                                                                                     0011330
               Case 1:18-cv-02921-JMF Document 457-4 Filed 10/31/18 Page 7 of 7
From:                      doc.gov - d o c . g o v ]
Sent:        10/8/2017 10:54:41 PM
To:          Wilbur Ross
Subject:     Re: Letter from DoJ.



Will do ... wrapping up my call now.
Sent from my iPhone

> on Oct 8, 2017, at 6:51 PM, Wilbur Ross -               wrote:
>
> Please call me a t - WLR
>
> Sent from my iPad
>
>> on Oct 8, 2017, at 6:47 PM, Davidson, Peter (Federal)               oc.gov> wrote:
>>
>> I'm on the phone with Mark Neumann right now ... he is giving me a readout of his meeting last week. I
can give you an update via phone if you'd like .. .
>>
>> Sent from my iPhone
>>
>>> on Oct 8, 2017, at 2:56 PM, Wilbur Ross
>>>
>>> what is its status? WLR
>>>
>>> Sent from my iPad




                                                                                                       0002482
Case 1:18-cv-02921-JMF Document 457-5 Filed 10/31/18 Page 1 of 6




    ATTACHMENT A4-1
To:                Uthmeier, James (Federal).                    PII                       j
From:                          Case 1:18-cv-02921-JMF
                   Shambon, Leonard                                             Document
                                     (Federair-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-··      457-5 Filed 10/31/18 Page 2 of 6
Sent:     Fri 9/15/2017 8:37:51 PM
Importance:          Normal
Subject: Current version
Received:            Fri 9/15/2017 8:37:52 PM




   Leonard M. Shambon

 Special Legal Advisor

 Office of the Chief Counsel for Economic Affairs

 U.S. Department of Commerce




l--------------------------------------------~-~-~----------------------------------------___l




                                                                                                                                    COM_DIS00017126
        Case 1:18-cv-02921-JMF Document 457-5 Filed 10/31/18 Page 3 of 6




DRAFT

8/21/2017 3:35 PM



I.      Chronological History


        Here is the history I've been able to compile, from Census instructions and residence rules, for
counting foreign citizens residing in the United States in census enumerations for apportionment. The
language (quoted from the underlying documents) is in reverse chronological order because the
instructions became more explicit over time.

Census Year

2020 (proposed):

        3. Foreign Citizens in the U.S.

        (a) Citizens of foreign countries living in the U.S. - Counted at the U.S. residence where they live
        and sleep most of the time.

        (b) Citizens of foreign countries living in the U.S. who are members of the diplomatic
        community - Counted at the embassy, consulate, United Nations' facility, or other residences
        where diplomats live.

        (c) Citizens of foreign countries visiting the U.S. such as on a vacation or business trip - Not
        counted in the census.



        10. College Students



        (e) College students who are foreign citizens living in the U.S. while attending college in the U.S.
        (living either on-campus or off-campus) - Counted at the on-campus or off-campus U.S.
        residence where they live and sleep most of the time. If they are living in college/university
        student housing (such as dormitories or residence halls) on Census Day, they are counted at the
        college/university student housing.

See Proposed 2020 Census Residence Criteria and Residence Situations - Proposed Criteria and request
for comment, 81 Fed. Reg. 42577, 42582-83 (June 30, 2016). Census would know if any comments were
submitted in response. In response to a 2015 Federal Register notice asking for comments on the 2010
residence rule, 80 Fed. Reg. 28950 (May 20, 2015), in anticipation of the 2016 notice, Census 262
comments, but only one dealt with foreigners, specifically how to treat foreign students at U.S. boarding
schools. Under the residence criteria, such students are ascribed to their parents' homes outside the
U.S. and therefore not counted. Census did not directly address the comment in the notice, but rather
adhered to its general rule for boarding school students. See 81 Fed. Reg. at 42578, 42579-80.




                                                                                                    COM_DIS00017127
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2010:   5. Visitors on Census day



        Citizens of foreign countries who are visiting the U.S. on Thursday April 1, 2010 (Census Day),
        such as on a vacation or a business trip - Not counted in the census

        8. Students



        Foreign students living in the U.S. while attending college in the U.S. (living either on-campus or
        off-campus) - Counted at the on-campus or off-campus residence where they live and sleep
        most of the time.



        14. Foreign Citizens in the U.S.

        Citizens of foreign countries living in the U.S. - Counted at the U.S. residence where they live
        and sleep most of the time.

        Citizens of foreign countries living in the U.S. who are members of the diplomatic community -
        Counted at the embassy, consulate, United Nations' facility, or other residences where
        diplomats live.

        Citizens of foreign countries visiting the U.S. such as on a vacation or business trip - Not counted
        in the census.

2000: 13. Foreign Citizens

        Citizens of foreign countries who have established a household or are a part of an established
        household in the U.S. while working or studying, including family members with them - Counted
        at the household.

        Citizens of foreign countries who are living in the U.S. at embassies, ministries, legations, or
        consulates - Counted at the embassy, etc.

        Citizens of foreign countries temporarily traveling or visiting in the U.S. - Not included in the
        census

1990:   17. Person is a citizen of a foreign country:

        a.    Who has established a household while working or studying, including family members
             living with them - This household
        b.   Temporarily traveiling or visiting in the United States - DO NOT LIST
        c.   Living on the premises of an Embassy, Ministry, Legation, chancellery, or Consulate - DO
             NOT LIST

1980:   The 1980 census residence rules stipulated, as in the past, that citizens of foreign countries
        living on the premises of an embassy, legation, chancery, or consulate were not to be




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            enumerated, but those who were living in housing units elsewhere to be canvassed and
            included in the census.

1970:       [Haven't found instructions to enumerators or residence rules]

1960:       33. Citizens of Foreign Countries Temporarily in the United States

            a. Do not list citizens of foreign countries temporarily visiting or traveling in the United States or
            living on the premises on an Embassy, Ministry, Legation, Chancellery, or Consulate.

            b.   Do enumerate as residents of your ED [Enumeration District] citizens of foreign countries
            living here who are students or who are employed here (but not living at the Embassy, etc.)
            even if they do not expect to remain here. Also enumerate the members of their families if they
            are living with them in this country.

1950:      V. Citizens of foreign countries temporarily in the United States:

           A.    Students and members of their families - Enumerate
            B.   Persons employed here and members of their families (but not living at an Embassy, etc.) -
                 Enumerate
            C.   Any other visitors from a foreign country not included in A and B - Do not enumerate
            D.   Persons living on premises of an Embassy, Ministry, Legation, Chancellory, or Consulate - Do
                 not enumerate

1940:       313. . ... As a rule, do not enumerate as residents of your district any of the following classes,
            except as provided in paragraph 314:



            d.   Persons from abroad temporarily visiting or traveling in the United States and foreign
                 persons employed in the diplomatic or consular service of their country (see par. 331).
                 (Enumerate other persons from abroad who are students in this country or who are
                 employed here, however, even though they do not expect to remain here permanently.)

            331 Diplomatic and Consular Employees of Foreign Governments - Do not enumerate citizens of
           foreign countries employed in the diplomatic or consular service of their country.

1930:       59. Classes not to be enumerated in your district

                  should be enumerated as of your district.

            c.   Persons from abroad temporarily visiting or traveling in the United States. (Persons from
            abroad who are employed here should be enumerated, even though they do not expect to
            remain here permanently.

1920:       63. Citizens abroad at the time of the enumeration -

            .... This instruction applies only to citizens of the United States and not to aliens who have left
           this country, as nothing definite can be known as to whether such aliens intend to return. [By
           implication, aliens who had not left the country were to be enumerated.] 1

1
    This exclusion for transitory foreign travelers in the U.S. including transitory businessmen has its genesis as far




                                                                                                                 COM_DIS00017129
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1910:   With minor wording difference, same as for 1920

Before 1910: No instructions found re. enumeration of citizens of foreign countries.



II.     Court Finding

         In the district court opinion in Federation for American Immigration Reform (FAIR) v. Klutznick,
486 F. Supp. 564 (D.C.D.C. 1980), dismissing the suit on standing ground, the three judge panel wrote:

                 The population base used for apportionment purposes consists of a straightforward
                 head count, as accurate as is reasonably possible, of all persons residing within a state
                 on April 1. This has been the practice since the first census in 1790; everyone is counted
                 except foreign diplomatic personnel living on embassy grounds (which is considered
                 "foreign soil," and thus not within any state) and foreign tourists, who do not "reside"
                 here. 486 F. Supp. at 567, 576. [ See also Ridge v. Verity, 715 F.Supp. 1308 (W.D. Pa.
                 1989).]




back as 1849. See Sen. Miscellan. No. 64, 30th Cong., 2d Sess. 24 (Jan. 20, 1849 correspondence from Jesse
Chickering to Senator John Davis, primary Senate author of the 1850 census legislation). Chickering also likely was
the source of the place of birth questions included statutory schedule for that census. See id. 24-27.




                                                                                                          COM_DIS00017130
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    ATTACHMENT A4-2
                  Case 1:18-cv-02921-JMF Document 457-6 Filed 10/31/18 Page 2 of 8
From:          Comstock, Earl (Federal) ~ d o c . g o v ]
Sent:          8/16/2017 8:44:41 PM
To:            Teramoto, Wendy (Federal) [           doc.gov]
CC:            Wilbur Ross
Subject:       Re: Memo on Census Question




Thanks Wendy. That works for me. Earl



From: Wendy Teramoto ~ d o c . g o v >
Date: Wednesday, August 16, 2017 at 4:24 PM
To: "Comstock, Earl (Federal)"               doc.gov>
Cc: Wilbur Ross
Subject: Re: Memo on Census Question



Peter Davidson and Karen Dunn Kelly wi both be here Monday. Let's spend 15 min together and sort this out. W


Sent from my iPhone


On Aug 11, 2017, at 4:12 PM, Comstock, Earl ( F e d e r a l ) ~ > wrote:

Mr. Secretary -



Per your request, here is a draft memo on the citizenship question that James Uthmeier in the Office of General Counsel
prepared and I reviewed. Once you have a chance to review we should discuss so that we can refine the memo to
better address any issues.



Before making any decisions about proceeding I would also like to bring in Peter Davidson and Census counsel to ensure
we have a comprehensive analysis of all angles.



Thanks. Earl




<Census Memo Draft2 Aug 11 2017.docx>




                                                                                                                   0002461
To:       Uthmeier, James (Federal)
From:                  Case 1:18-cv-02921-JMF
          Shambon, Leonard     (Federal)                Document 457-6 Filed 10/31/18 Page 3 of 8
Sent:     Fri 8/11/2017 6:56:17 PM
Importance:          Normal
Subject: RE: Census paper
Received:            Fri 8/11/2017 6:56:19 PM


 Got it and will shoot you the timeline. Updating it now.



 Leonard M. Shambon

 Special Legal Advisor

 Office of the Chief Counsel for Economic Affairs

 U.S. Department of Commerce




 From:Uthmeier, James (Federal)
 Sent: Friday, August 11, 2017 1:59 PM
 To: Shambon, Leonard (Federal)
 Subject: Fwd: Census paper



 Hey Lenny,



 I just wanted to shoot you a current copy of the census paper. Earl is currently reviewing,




 Thank you and happy Friday!



 James

 Begin forwarded message:

         From: "Uthmeier, James (Federal)"
         Date: August 11, 2017 at 10:18:56 AM EDT
         To: "Comstock, Earl (Federal)"
         Subject: Re: Census paper

         Made a couple small edits for clarity.

                                                                                                    0011312
Case 1:18-cv-02921-JMF Document 457-6 Filed 10/31/18 Page 4 of 8




                                                                   0011313
To:       -hamLeonard
               bon    Federal)[
From:                  Case 1:18-cv-02921-JMF Document 457-6 Filed 10/31/18 Page 5 of 8
Sent:     Mon 8/14/2017 3:12:43 PM
Importance:         Normal
Subject: Re: Census paper
Received:           Mon 8/14/2017 3:12:45 PM

Thanks Lenny.


On Aug 14, 2017, at 11:04 AM, Shambon, Leonard (Federal)<                                       wrote:



        Had some small edits to the last draft which I'll incorporate into the current draft.




        Leonard M. Shambon




        Special Legal Advisor




        Office of the Chief Counsel for Economic Affairs




        U.S. Department of Commerce




        From:Uthmeier, James (Federal)
        Sent: Monday, August 14, 2017 9:51 AM
        To: Shambon, Leonard (Federal)
        Subject: FW: Census paper




                                                                                                         0011332
To:       Comstock, Earl (Federal)[
From:                  Case(Federa
          Uthmeier, James      1:18-cv-02921-JMF    Document 457-6 Filed 10/31/18 Page 6 of 8
Sent:     Fri 8/11/2017 8:05:48 PM
Importance:          Normal
Subject: Re: Census paper
Received:            Fri 8/11/2017 8:05:51 PM




Thanks Earl, clean copy attached. I can swing a call any time after 4:30 today.




James




From: Comstock, Earl (Federal)
Sent: Friday, August 11, 2017 3:40 PM
To: Uthmeier, James (Federal)
Subject: Re: Census paper



 Thanks James. Please take a look at the attached edits. If you agree
                             Earl




 From:"Uthmeier, James (Federal)"
 Date:Friday, August 11, 2017 at 10:18 AM
 To:"Comstock, Earl (Federal)"
 Subject:Re: Census paper




                                                                                                0011343
                    Case 1:18-cv-02921-JMF Document 457-6 Filed 10/31/18 Page 7 of 8




From:Uthmeier, James (Federal)
Sent: Friday, August 11, 2017 9:55:52 AM
To: Comstock, Earl (Federal)
Subject: Re: Census paper




Earl-




A draft, predecisional and privileged memo is attached.




I will keep working to clean it up and am happy to incorporate any edits. I am out of the office
                          but can be reached on my cell. I'll be able to talk today other than 11-1. Will be working over
the next hour to clean this up a bit.




If you want to provide some handwritten comments, you can deliver to Barb (OGC secretary) and she will get them to
me quickly.




Best,

                                                                                                                  0011344
                       Case 1:18-cv-02921-JMF Document 457-6 Filed 10/31/18 Page 8 of 8


James




From:Comstock, Earl (Federal)
Sent: Friday, August 11, 2017 8:11:41 AM
To: Uthmeier, James (Federal)
Subject: Re: Census paper




Great. Thanks! Earl

Sent from my iPhone

> On Aug 11, 2017, at 7:45 AM, Uthmeier, James (Federal)               wrote:
>
> Earl-
>
> Finishing this up this morning and will have a memo to you by 930.
>
>James
>
> Sent from my iPhone




                                                                                          0011345
Case 1:18-cv-02921-JMF Document 457-7 Filed 10/31/18 Page 1 of 7




    ATTACHMENT A5-1
To:       Uthmeier, James (FederalL_ ________________ ~l_l________________ __j
From:                 Case
          Zadrozny, John    1:18-cv-02921-JMF Document 457-7 Filed
                         A. EOP/WHO                                                                       10/31/18 Page 2 of 7
Sent:     Wed 1/31/2018 12:48:02 PM
Importance:         Normal
Subject: RE: Hill/DOJ pushing for citizenship question on census forms: report
Received:           Wed 1/31/2018 12:48:27 PM



 James:




 Apologies for missing your e-mail. I am literally just seeing this.




 I can talk today (Wednesday 1/31) or Friday 2/2, if you can. Tomorrow is a mess. Best window today (for the moment) is 11:00 a.m.-
 2:00 p.m.




 Also, if you don't mind, I'd like to rope my new DPC colleague, Theo Wold, into our call (and our mutual subjects). Theo is handling
 most of Zina's old portfolio. He literally just started last week.




 JZ




 w:!

      I
      ;
      ;
           PII
 C. !.-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-




 From:Uthmeier, James (Federal) [mailto t_ ________________ PII -·-·-·-·-·-·-·----'
 Sent: Friday, January 26, 2018 8:53 AM
 To: Zadrozny, John A. EOP/WHO L_ ______________________________ PII ________________________________ i
 Subject: Re: Hill/DOJ pushing for citizenship question on census forms: report




                                                                                                                                 COM_DIS00015698
John,
                                         Case 1:18-cv-02921-JMF Document 457-7 Filed 10/31/18 Page 3 of 7




Monday I'm open 1230-2 and after 4. Any chance you're also open for a brief call today? Let me know.




Thanks,


James



Sent from my iPhone


On Jan 26, 2018, at 7:07 AM, Zadrozny, John A. EOP/WHO                   L_ _______________________________PII _______________________________ J wrote:


        James:




        I hope all is well.




        Any chance we can chat census on Monday (1/29)? Let me know when works for you.




        JZ




        w:i




        C
              I
              ;
            • j
                    PII
            . i-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·




                                                                                                                                                  COM_DIS00015699
                         Case 1:18-cv-02921-JMF Document 457-7 Filed 10/31/18 Page 4 of 7
From:Uthmeier, James (Federal) [mailtoi              PII                     i
Sent: Sunday, December 31, 2017 5:30 PM·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-'
To: Zadrozny, John A. EOP/WHO t·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-~-~I_______________________________ ___!
Subject: Re: Hill/DOJ pushing for citizenship question on census forms: report




The DOJ letter was not released by any political at DOC, so I assume it was leaked.




Yes, we have connected with DOJ and plan to discuss with them as soon as possible.




Happy New Year,




James


On Dec 31, 2017, at 1:46 PM, Zadrozny, John A. EOP/WHO                                    i··-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·
                                                                                                                              PII                                        ~ wrote:



        Works for me.




        Also, have you connected with DOJ yet on this? I talked to them on Wednesday 12/20 about this, and
        they sounded like they are anticipating this being a point of discussion in the New Year.




        Question: Was the DOJ letter released by politicals, or was it leaked?




        JZ




        w :!__ __________ p II ·-·-·-·-·-·-·i

                                                                                                                                                              COM_D1S00015700
                 Case 1:18-cv-02921-JMF Document 457-7 Filed 10/31/18 Page 5 of 7

C:   l______________p II -·-·-·-·-·-·_.i



From:Uthmeier, James (Federal) [mailto:i                      PII                     i
Sent: Sunday, December 31, 2017 11:36°AM                                              '
To: Zadrozny, John A. EOP/WHO L_ _____________________________ P II_ ________________________________ i
Subject: Re: Hill/DOJ pushing for citizenship question on census forms: report




Yep - propublica broke the story late Friday. They incorrectly cited that the question had not
been asked since the 1800s, which we had them correct. This will likely get attention and
follow-up questions early next week, so let's plan to get together for a discussion on Tuesday.




From:Zadrozny, John A. EOP/WHO                i     PII                                      i
Sent: Sunday, December 31, 2017 10:23:43 AM                           ·
To: Uthmeier, James (Federal)
Subject: FW: Hill/DOJ pushing for citizenship question on census forms: report




FYI.




John A. Zadrozny




Special Assistant to the President




Justice and Homeland Security




Domestic Policy Council




Executive Office of the President


                                                                                                          COM_D1S00015701
               Case 1:18-cv-02921-JMF Document 457-7 Filed 10/31/18 Page 6 of 7
    I-•-•-•-•-•-•-•-•-•-•-•-•-•-•-•-)

    i                               i




   IPIII
    i
    i

   H---·-·-,-·-·-·-·-·-·-·-·-·-·-·-J
                                    i
                                    i




From:Watts, Brad (Judiciary-Rep) j                               PII                                                       i
                                                     l
Sent: Sunday, December 31, 201 10·: 21-A M ·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-'
To: Watts, Brad (Judiciary-Rep) l_ _______________________________________P II ·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-·-· j
Subject: Hill/DOJ pushing for citizenship question on census forms: report




DOJ pushing for citizenship question on census forms: report


BY JULIA MANCHESTER - 12/29/17 09:24 PM EST 794


2,243




The Department of Justice (DOJ) is asking the Census Bureau if a question on citizenship status
could be added to 2020 census forms, according to a letter first reported by ProPublica on
Friday.




The DOJ letter, dated Dec. 12, said including a question on citizenship would allow the the
department to better enforce the Voting Rights Act.




"To fully enforce those requirements, the Department needs a reliable calculation of the citizen
voting-age population in localities where voting rights violations are alleged or suspected," the
letter said.

                                                                                                                               COM_DIS00015702
        Case 1:18-cv-02921-JMF Document 457-7 Filed 10/31/18 Page 7 of 7

However, critics say including a question on immigration could prevent immigrants from
participating in the census due to fears the government could use the information against them.




The letter was drafted by Arthur Gary, a lawyer at the DOJ, to Census Bureau official Dr. Ron
Jarmin.




A spokesperson for the Census Bureau confirmed the letter to ProPublica, saying the "request
will go through the well-established process that any potential question would go through."




The Hill has reached out to the Justice Department for comment.




The letter comes after reports in recent months that the Trump administration plans to include an
immigration-related question in the census.




>>>h ://thchill.com/homencws/administration/366849-do·-                             - uestion-on-
census-forms-report<<<:;




                                                                                          COM_DIS00015703
Case 1:18-cv-02921-JMF Document 457-8 Filed 10/31/18 Page 1 of 4




    ATTACHMENT A5-2
To:       hilary g e a r y - - - -
From:                Case 1:18-cv-02921-JMF Document 457-8 Filed 10/31/18 Page 2 of 4
          Alexander, ~
Sent:     Wed 4/5/2017 4:24:19 PM
Importance:         Normal
Subject: tonight
Received:           Wed 4/5/2017 4:24:00 PM


 Mrs. Ross,

 Do you have plans following the Newseum? I'm asking because Steve Bannon has asked that the Secretary talk to someone about
 the Census and around 7-7:30 pm is the available time. He could do it from the car on the way to a dinner ...

  Brooke V Alexander

 Executive Assistant to the Secretary

 The U.S. Department of Commerce

 Washington, D.C. 20230

 balexander@doc.gov

 202-482-111 office

               cell




                                                                                                                   0002561
NOT RELE     NT
                      Case 1:18-cv-02921-JMF Document 457-8 Filed 10/31/18 Page 3 of 4




From:Kris Kobach [mailto
Sent: Monday, July 24, 2017 2:43 PM
To: Teramoto, Wendy (Federal) <1
Cc: Alexander, Brooke (Federal) <                       Hernandez, Israel (Federal) <
Subject: Re: Follow up on our phone call



Yes.

Sent from my iPhone

On Jul 24, 2017, at 1 :39 PM, Teramoto, Wendy (Federal) <                               wrote:

       Kris- can you do a call with the Secretary and Izzy tomorrow at 11 am? Thanks. Wendy

       From:Kris Kobach [mailto:
       Sent: Monday, July 24, 2017 12:02 PM
       To: Teramoto, Wendy (Federal)
       Subject: Re: Follow up on our phone call



       That works for me. What number should I call? Or would you like to call me?


       On Mon, Jul 24, 2017 at 9:12 AM, Teramoto, Wendy (Federal) <                                 wrote:

        We can speak today at 230. Please let me know if that works. W

        Sent from my iPhone

        On Jul 21, 2017, at 4:34 PM, Kris Kobach <                           > wrote:

              Wendy,



              Nice meeting you on the phone this afternoon. Below is the email that I sent to Secretary Ross.
              He and I had spoken briefly on the phone about this issue, at the direction of Steve Bannon, a
              few months earlier.



              Let me know what time would work for you on Monday, if you would like to schedule a short
              call. The issue is pretty straightforward, and the text of the question to be added is in the email
              below.                                                                                         000763
       Case 1:18-cv-02921-JMF Document 457-8 Filed 10/31/18 Page 4 of 4
Thanks.



Kris Kobach




         Forwarded message
From: Kris Kobach
Date: Fri, Jul 14, 2017 at 9:12 AM
Subject: Follow up on our phone call
To:



Secretary Ross,

 Kansas Secretary of State Kris Kobach here. I'm following up on our telephone discussion
from a few months ago. As you may recall, we talked about the fact that the US census does
not currently ask respondents their citizenship. This lack of information impairs the federal
government's ability to do a number of things accurately. It also leads to the problem that aliens
who do not actually "reside" in the United States are still counted for congressional
apportionment purposes.

 It is essential that one simple question be added to the upcoming 2020 census. That question
already appears on the American Community Survey that is conducted by the Census Burear
(question #8). A slight variation of that question needs to be added to the census. It should read
as follows:

Is this person a citizen of the United States?

0Yes, born in the United States

!Wes, born in Puerto Rico, Guam, the U.S. Virgin Islands, or Northern Marianas

Wes, born abroad of U.S. citizen parent or parents

DYes, U.S. citizen by naturalization — Print year of naturalization

EINo, not a U.S. citizen - this person is a lawful permanent resident (green card holder)

oNo, not a U.S. citizen — this person citizen of another country who is not a green card
holder (for example holds a temporary visa or falls into another category of non-citizens)

 Please let me know if there is any assistance that I can provide to accomplish the addition of
this question. You may reach me at this email address or on my cell phone at

Yours,
                                                                                            000764
Kris Kobach
Case 1:18-cv-02921-JMF Document 457-9 Filed 10/31/18 Page 1 of 3




       ATTACHMENT A6
               Case 1:18-cv-02921-JMF Document 457-9 Filed 10/31/18 Page 2 of 3




From:                           zzz.External.SBrannon@aclu.org
Sent:                           Tuesday, October 30, 2018 10:46 PM
To:                             Bailey, Kate (CIV); Goldstein, Elena; Ehrlich, Stephen (CIV)
Cc:                             Freedman, John A.; zzz.External.DHo@aclu.org; Gersch, David P.; Colangelo, Matthew;
                                Coyle, Garrett (CIV); Federighi, Carol (CIV); Halainen, Daniel J. (CIV); Tomlinson, Martin
                                M. (CIV); Wells, Carlotta (CIV)
Subject:                        Re: New York, et al. v. U.S. Dep't of Commerce, et al., 18-cv-2921 (JMF) -



Kate,



First, you had previously indicated that you would be getting back to us today about the government’s position
on the list of stipulations that we sent last week. Can you please let us know the status of that.



Second, we wanted to let you know that we are working on a supplement to the exhibit list mostly for the
purpose of including materials we received in recent discovery. We are planning to get you that supplement by
mid-day tomorrow.



Third, we have identify in the recent productions a number of documents that we believe should be part of the
Administrative Record, and we want to know if the government is willing to agree to change their designations
to acknowledge this. Those documents are listed here:



COM_DIS prefix

14335 14338 15698 15678 15704 15707 15711 16106 16118
16561 16562 16563 16564 16571 16575 16577 17047 17126 17127 17396 17398 17402
17405 17407 17409 17468 17490 17499 17501 17554 17585 17618 17620 18195 18199 1
8202 18535 18543 18546 18588 18592 18614 18615 18772   18873 18875 19464 19468
 19687 19691 19987 20024 20028 20031 20058 20062 20557 20561 20862 20864



Finally, sorry to not get back to you sooner, but we do intend to ask for the opportunity to present opening
statements; and propose asking the Court for 10 minutes for NYAG, 10 minutes for NYIC and 10 minutes for
DOJ. Please let us know if this proposal is acceptable.


thanks
Sarah

                                                          1
                Case 1:18-cv-02921-JMF Document 457-9 Filed 10/31/18 Page 3 of 3

From: Bailey, Kate (CIV) <Kate.Bailey@usdoj.gov>
Sent: Tuesday, October 30, 2018 9:44 PM
To: Goldstein, Elena; Sarah Brannon; Ehrlich, Stephen (CIV)
Cc: Freedman, John A.; Dale Ho; Gersch, David P.; Colangelo, Matthew; Coyle, Garrett (CIV); Federighi, Carol (CIV);
Halainen, Daniel J. (CIV); Tomlinson, Martin M. (CIV); Wells, Carlotta (CIV)
Subject: RE: New York, et al. v. U.S. Dep't of Commerce, et al., 18-cv-2921 (JMF) - Park Su designations

Counsel,

Please find attached additional counterdesignations and objections. I will send you Jarmin’s transcript shortly.

Kate Bailey
Trial Attorney
United States Department of Justice
Civil Division – Federal Programs Branch
1100 L Street, NW
Washington, D.C. 20005
202.514.9239 | kate.bailey@usdoj.gov



From: Goldstein, Elena [mailto:Elena.Goldstein@ag.ny.gov]
Sent: Tuesday, October 30, 2018 2:59 PM
To: Bailey, Kate (CIV) <katbaile@CIV.USDOJ.GOV>; Sarah Brannon <sbrannon@aclu.org>; Ehrlich, Stephen (CIV)
<sehrlich@CIV.USDOJ.GOV>
Cc: Freedman, John A. <John.Freedman@arnoldporter.com>; Dale Ho <dho@aclu.org>; Gersch, David P.
<david.gersch@arnoldporter.com>; Colangelo, Matthew <Matthew.Colangelo@ag.ny.gov>; Coyle, Garrett (CIV)
<gcoyle@CIV.USDOJ.GOV>; Federighi, Carol (CIV) <CFederig@CIV.USDOJ.GOV>; Halainen, Daniel J. (CIV)
<dhalaine@CIV.USDOJ.GOV>; Tomlinson, Martin M. (CIV) <mtomlins@CIV.USDOJ.GOV>; Wells, Carlotta (CIV)
<CWells@CIV.USDOJ.GOV>
Subject: New York, et al. v. U.S. Dep't of Commerce, et al., 18-cv-2921 (JMF) - Park Su designations

Counsel,
Attached please find Plaintiffs’ deposition designations for Park Su, and highlighted transcripts. We will produce these
on a rolling basis; we just received the transcripts for Mr. Neuman and Mr. Langdon today; we will be providing you
designations on these as soon as we are able.


Elena Goldstein | Senior Trial Counsel
Civil Rights Bureau
New York State Office of the Attorney General
28 Liberty Street, 20th Floor | New York, New York 10005
Tel: (212) 416-6201 | Fax: (212) 416-6030 | elena.goldstein@ag.ny.gov | www.ag.ny.gov




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       ATTACHMENT A7
Case 1:18-cv-02921-JMF Document 457-10 Filed 10/31/18 Page 2 of 4
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Case 1:18-cv-02921-JMF Document 457-10 Filed 10/31/18 Page 4 of 4
